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                   THIS IS A COURT-APPROVED SETTLEMENT NOTICE
                   ***THIS IS NOT A SOLICITATION FROM A LAWYER***

                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civ. A. No. 15-cv-02156-PAB-KMT

   MATTHEW PRIM, Individually and On Behalf of All Others Similarly Situated

          Plaintiff,

   v.

   ENSIGN UNITED STATES DRILLING, INC.,

          Defendant.


         NOTICE OF PROPOSED SETTLEMENT AND RIGHT TO PARTICIPATE


   TO:             «First_Name» «Last_Name»

   RE:             Your Right to Participate in Settlement with Ensign.

   DEADLINE TO RETURN CLAIM FORM AND RELEASE: ________________, 2019.

           Please read this notice carefully. It tells you about the proposed settlement of a Federal Labor
   Standards Act (FLSA) collective action lawsuit from which you are eligible to receive a payment should
   you choose to participate. If you wish to participate in the settlement of this lawsuit, you must follow
   the directions in this Notice.

                                           BRIEF OVERVIEW

           A proposed settlement (Settlement) in the total maximum amount of $815,000.00 has been
   reached in this FLSA collective action pending in the United States District Court for the District of
   Colorado. The Settlement was reached on behalf of all individuals who worked for Ensign United
   States Drilling, Inc. (Ensign) and received an Operator Safety Bonus and/or Mud Bonus at any time
   between January 18, 2014 and January 18, 2017 (the Settlement Class).

          The federal court in charge of this lawsuit has preliminarily approved the Settlement.


                               WHY AM I GETTING THIS NOTICE?

           You are receiving this Notice because you were identified by Ensign’s records as a member of
   the Settlement Class. This Notice informs you of the nature of the claims brought in the lawsuit, the
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   proposed Settlement, how your rights under the FLSA may be affected by the Settlement, and the
   steps you need to take should you choose to make a claim for your pro rata share of the Settlement.
           If you choose to join the Settlement by following the instructions in this Notice and the
   Settlement is finally approved by the Court, you will receive a settlement payment representing your
   pro rata share of the Settlement.


                                  WHAT IS THE LAWSUIT ABOUT?

            The FLSA is a federal law that provides remedies for minimum wage and overtime violations.
   The FLSA allows a single employee to bring claims against an employer on behalf of himself and other
   similarly situated employees. This is referred to as a collective action.

           A former Ensign hourly oilfield employee, Matthew Prim, filed an FLSA collective action
   lawsuit against Ensign on behalf of himself and other current and former Ensign hourly employees
   who received an Operator Safety Bonus and/or Mud Bonus (Contested Bonuses) at any time between
   January 18, 2014 and January 18, 2017. Mr. Prim alleged Ensign did not pay him and these workers
   overtime as required by the FLSA. Specifically, Mr. Prim claimed Ensign failed to include the
   Contested Bonuses in their overtime rates as required. Mr. Prim sought back wages in the form of
   unpaid overtime, double damages (liquidated damages), plus his attorney fees and costs for himself
   and all similarly situated Ensign hourly employees. Ensign believes the lawsuit is without merit and
   that Mr. Prim and all similarly situated employees were paid correctly and fairly for their work. Ensign
   also does not believe a collective action is appropriate. The Court has not made any decision as to
   which side is right.

           This Settlement is the result of good-faith, arm’s-length negotiations between Mr. Prim and
   Ensign, through their respective attorneys. Both sides agree that, considering the risks and expenses
   associated with continued litigation, this Settlement is fair and appropriate and in the best interests of
   the Parties and the Settlement Class Members.

          The Court preliminarily approved this Settlement and authorized this Notice to be sent to the
   Settlement Class Members. After the deadline for Settlement Class Members to participate in the
   Settlement expires (as explained below), the Court will decide whether to give final approval to the
   proposed Settlement.


                                      WHAT ARE MY OPTIONS?

           You have the following choices:

           1. Participate in the Settlement and receive your pro rata share of money from the Settlement
              fund by timely executing and returning the Claim Form and Release enclosed with this
              Notice as instructed herein.

           2. Do nothing and exclude yourself from the Settlement.
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               WHAT HAPPENS IF I SUBMIT MY CLAIM FORM AND RELEASE?

         If you return the Claim Form by «Claim_Filing_Date» and the Settlement receives Final
   Approval:

          A.      You will be acknowledging that you are represented by Mr. Prim’s attorneys,
                  JOSEPHSON DUNLAP, LLP and BRUCKNER BURCH, PLLC, and that you will be bound
                  by the terms of the Settlement and the Professional Services Agreement signed by Mr.
                  Prim in this case. You will not have to pay these attorneys any money directly. As part
                  of the Settlement, these attorneys – who have been working on this lawsuit for over
                  three years – have requested that the Court award them $288,750.00 (which equals
                  35% of the Maximum Settlement Amount of $815,000.00 for their attorney’s fees and
                  their out-of-pocket expenses). The attorney's fees and their out-of-pocket expenses
                  will be paid out of the Maximum Settlement Amount.

          B.      You will be waiving and releasing any and all claims for unpaid wages or overtime
                  against Ensign during the period between January 18, 2014 to January 18, 2017.

          C.      You will receive your pro rata share of the Settlement.


                               WHAT HAPPENS IF I DO NOTHING?

           If you do nothing and exclude yourself from the Settlement by failing to timely execute and
   return the Claim Form and Release enclosed with this Notice as instructed, you will not receive a
   settlement payment or benefit from any recovery obtained under the Settlement, unless you have
   already joined this lawsuit as a named Plaintiff.

           If you do nothing and exclude yourself form this Settlement, you will not give up any legal
   claims you have may have against Ensign, including the right to pursue an independent action or
   otherwise assert a claim against Ensign relating to the payment of wages or hours worked. Consistent
   with the law, the statute of limitations for any FLSA claim you may have against Ensign will continue
   to run if it has not already passed.


                   HOW CAN I PARTICIPATE IN THE SETTLEMENT AND
                       HOW MUCH CAN I EXPECT TO RECEIVE?

           The Court preliminarily approved the Settlement and will determine whether to grant final
   approval following the close of the Settlement opt-in period. If the Settlement receives Final Approval,
   Ensign will pay a total maximum amount of $815,000.00. After subtracting the Settlement
   administration costs (an amount not to exceed $15,000.00), attorneys’ fees and out-of-pocket costs
   for the attorneys representing Mr. Prim and those Settlement Class Members who elect to participate
   in the Settlement (an amount not to exceed $288,750.00), and an enhancement award to Mr. Prim
   recognizing his efforts on behalf of the Settlement Class (an amount not to exceed $7,500.00), the
   remaining settlement fund will be allocated among the Settlement Class Members who elect to
   participate in the Settlement on a pro rata basis.
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           If the Settlement is finally approved, any Settlement Class Member who timely sends a valid
   executed Claim Form and Release as instructed in this Notice will receive his or her pro rata share of
   the remaining settlement fund in accordance with the distribution formula preliminarily approved by
   the Court. Your pro rata share of the Settlement will be based on your employment history with
   Ensign between January 18, 2014 and January 18, 2014, including the number of weeks you worked,
   your rate of pay, and the Contested Bonuses you received during this time. Your pro rata settlement
   payment is estimated to be: $«AMOUNT».

          To receive your pro rata share of the Settlement, you must complete, sign, and return the
   enclosed Claim Form and Release to either the Settlement Administrator (CPT Group), or JOSEPHSON
   DUNLAP, LLP, at the addresses listed below.

         Your executed Claim Form and Release must be returned to either CPT Group or
   JOSEPHSON DUNLAP, LLP by U.S. Mail (postmark date), fax, or E-Mail by
   «Claim_Filing_Date» as follows:

                                      Ensign Overtime Settlement
                                                   c/o
                                               CPT Group
                                           50 Corporate Park
                                            Irvine, CA 92606
                                           Fax: 949-419-3446
                                         Email: ___________

                                                    OR

                                      Ensign Overtime Settlement
                                                  c/o
                                          Michael A. Josephson
                                        JOSEPHSON DUNLAP, LLP
                                      11 Greenway Plaza, Suite 2050
                                           Houston, TX 77046
                                           Fax: 713-352-3300
                                     Email: info@mybackwages.com

          If you lose or misplace your settlement papers, a copy of the Notice and Claim Form and
   Release may also be obtained by contacting CPT Group at 1-800-542-0900 or JOSEPHSON DUNLAP,
   LLP at 713-352-1100 or email info@mybackwages.com.


                       WHEN AND HOW WILL I RECEIVE MY MONEY?

           If the Court grants final approval of the Settlement, you should receive your pro rata share of
   the Settlement within 60 days of the date the Court enters an Order finally approving the Settlement.

          The Settlement Administrator will send you two checks. For tax reporting purposes, one check
   representing 50% of your pro rata share will be allocated to payment of unaid wages and will be subject
   to withholding of federal, states, and local income and payroll taxes, as well as any other required
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   withholdings and garnishments. You will receive an IRS Form W-2 for this payment from the
   settlement fund. The reamining 50% of your pro rata share will be allocated to the payment of
   penalties, liquidated damages, interest, and all other non-wage recovery and will not be subject to any
   paroll or income tax withholding or deductions. You will receive an IRS Form 1099 for this amount.

          You are solely responsible for paying taxes based on your receipt of your pro rata share of the
   Settlement. Neither Prim’s attorneys, nor Ensign’s attorneys, can provide any advice regarding such
   tax payments. If you have any questions regarding the tax treatment of any payments pursuant to the
   Settlement, you should consult your own tax advisor.


        WHAT HAPPENS IF THE COURT DOES NOT GRANT FINAL APPROVAL?

           If the Court does not finally approve the Parties’ proposed Settlement, or if the Parties
   terminate the Settlement due to material modification of its terms by the Court or due to the
   occurrence of conditions authorizing the Parties to termininate the Settlement, no payments will be
   made under the Settlement. The rights and duties of the Parties will revert to their status prior to the
   execution of the Settlement, and the Settlement Class Members will have no rights to a settlment
   payment pursuant to the Settlement.


                             WHAT IF I HAVE OTHER QUESTIONS?

           This Notice is only a summary. If you have additional questions, please call JOSEPHSON
   DUNLAP, LLP at 713-352-1100 or the Settlement Administrator at 800-542-0900. If you would
   like, you can obtain certain documents related to the case. However, the deadline for receiving your
   completed Claim Form and Release will not be extended under any circumstances.

           You should not contact the Court if you have questions about the Settlement or this Notice.
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                     EXHIBIT B
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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civ. A. No. 15-cv-02156-PAB-KMT

   MATTHEW PRIM, Individually and On Behalf of All Others Similarly Situated

           Plaintiff,

   v.

   ENSIGN UNITED STATES DRILLING, INC.,

           Defendant.

                                    CLAIM FORM AND RELEASE

           I read the Notice regarding the overtime settlement with Defendant Ensign United States
   Drilling Inc. (“Ensign”). I had the opportunity to talk to JOSEPHSON DUNLAP, LLP (“Josephson
   Dunlap”) and/or BRUCKNER BURCH, PLLC, attorneys for Plaintiffs in the Lawsuit, about my rights
   and obligations under the settlement. I am making an informed, knowledgeable, and voluntary
   decision to sign this Claim Form and Release so I can obtain my settlement payment.

         I understand my signed Claim Form and Release must be postmarked, faxed, or
   emailed by «Claim_Filing_Date» or I will not receive any money under the settlement.

            In consideration for the payment of my pro rata settlement share, I am giving up potential or
   actual claims against various persons and entities. I am also giving up the right to sue for potential or
   actual claims against various persons and entities. In particular, I waive and release Ensign (including
   its past and present parents, subsidiaries, affiliates, officers, directors, board members, shareholders,
   employees and agents) from any and all claims relating to the payment/non-payment of wages or
   overtime under federal, state, or other laws during the time period beginning January 18, 2014 to
   January 18, 2017.

           I declare the foregoing representations and information are true and correct. By submitting
   the Claim Form and Release, I am consenting to join this Lawsuit.

   _________________________________               ________________________________
   (Sign Your Name Here)                           (Date)

   _________________________________
   Printed Name

   _________________________________               _________________________________
   Cell Phone                                      Email Address

   _________________________________               _________________________________
   Address                                         City, State, Zip Code
